                                           United States District Court
                                            SOUTHERN DISTRICT OF CALIFORNIA


 Matthew Jones, et al.,                                                         Case No. 19-cv-01226-L-AHG
                                                           Plaintiff,
                                                   v.                     PRO HAC VICE APPLICATION
Xavier Becerra, et al.,                                                        Amicus Curiae Everyto\\-TI for Gun Safety
                                                        Defendant.
                                                                               Party Represented
                                                                                                                    Support Fund
I,    Darreri LaVerne                                           hereby petition the above entitled court to permit me
                             (Applicant)

to appear and participate in this case and in support of petition state:                                  FILED
           My firm name: Kramer Levin Naftalis & Frankel LLP
           Street address:     1177 A venue of the Americas
           City, State, ZIP: New York, NY 10036
           Phone number: (212) 715 -9100
           Email:
                              -----------------------------
                              dlaverne@kramerlevin.com
           That on   10/17/2005                I was admitted to practice before New York Court of Appeals
                              (Date)                                                                      (Name of Court)

           and am currently in good standing and eligible to practice in said court,
           that I am not currently suspended or disbarred in any other court, and
           that I Ohave) I ✓ !have not)              concurrently or within the year preceding this application made
           any pro hac vice application to this court.
                                       (If previous application made, complete the following)
Title of case
                ---------------------------------
Case Number _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Date of Application _ _ _ _ _ __
Application:     D Granted D Denied
           I declare under penalty of perjury that the foregoing is true and correct.
                                                                                       Isl Darren La Verne
                                                                                                (Signature of Applicant)

                                         DESIGNATION OF LOCAL COUNSEL
I hereby designate the below named as associate local counsel.
Lisa Kobialka                                                                  (650) 752-1700
(Name)                                                                         (Telephone)

Kramer Levin Naftalis & Frankel LLP
(Firm)

 990 Marsh Road                                                                Menlo Park                                   CA
(Street)                                                                      (City)                                        (Zip code)

                                                                                       Isl Darren La Verne
                                                                               (Signature of Applicant)

I hereby consent to the above designation.                                              Isl Lisa Kobialka
                                                                               (Signature ofDesignee Attorney)
    Pro Hae Vice (For this one particular occasion)

    An attorney who is not a member of the California State Bar, but who is a member in good standing of,
    and eligible to practice before, the bar of any United States court or of the highest court of any State or
    of any Territory or Insular possession of the United States, who is of good moral character, and who has
    been retained to appear in this Court, be permitted to appear and participate in a particular case. An
    attorney is not eligible to practice pursuant to this paragraph if any one or more of the following apply
    to him/her: (1) he/she resides in California, (2) he/she is regularly employed in California, or (3) he/she
    is regularly engaged in business, professional, or other activities in California.

    The pro hac vice application shall be presented to the Clerk and shall state under penalty of perjury
    (1) the attorney's residence and office address, (2) by what court he/she has been admitted to practice
    and the date of admission, he/she is in good standing and eligible to practice in said court,
    (4) that he/she is not currently suspended or disbarred in any other court, and (5) if he/she has
    concurrently or within the year preceding his/her current application made any pro hac vice application
    to this court, the title and the case number of each matter wherein he made application, the date of
    application, and whether or not his/her application was granted. He/She shall also designate in his
    application a member of the bar of this Court with whom the Court and opposing counsel may readily
    communicate regarding the conduct of the case and upon whom papers shall be served. He/She shall
    file with such application the address, telephone number and written consent of such designee.

    Fee:   $206.00

    If application and fee require submission via U.S. Mail, please contact:

                                                         CASO Attorney Admissions Clerk
                                                         (619) 557-5329




The pro hac vice application for Laverne, Darren representing Amicus Curiae Everytown for Gun
Safetv is herebv:                          _/
0 APPROVED for filing                      ~ DENIED

Date.
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